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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS                       SEP 1 7 2020
                                      TYLER DIVISION
                                                                                Clerk, U.S. District Court
UNITED STATES OF AMERICA § _ Eastern
                                                    § NO. 6:20-CR- H ~ -
v.         §         Judge                          rp>             .|
                                                    §
JENNIFER REBEKAH HAWTHORNE § UNDER SEAL

                                      INDICTMENT

THE UNITED STATES GRAND JURY CHARGES:

                                        Count One

                                                    Violation: 18 U.S.C. § 1703(a) (Delay or
                                                    destruction of mail)


        Beginning in or about December 2019, and continuing until on or about May 28,

2020, in Anderson County, Texas, in the Eastern District of Texas, the defendant,

Jennifer Rebekah Hawthorne, being a Postal Service employee, did unlawfully secrete,

destroy, detain, delay, and open one or more letters and mail entrusted to her and which

came into her possession, and which was intended to be conveyed by mail, and carried

and delivered by a carrier of the Postal Service,

        In violation of 18 U.S.C. § 1703(a).

                                        Count Two

                                                    Violation: 18 U.S.C. § 1709 (Theft of
                                                    mail matter by employee)

        Beginning in or about December 2019, and continuing until on or about May 28,

2020, in Anderson County, in the Eastern District of Texas, the defendant, Jennifer

Rebekah Hawthorne, a United States Postal Service employee, did embezzle one or


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more letters and mail, and articles and things contained therein, and steal and abstract one

or more letters and mail and articles and things contained therein, which had been

entrusted to the defendant and which had come into the defendant s possession intended

to be conveyed by mail and carried and delivered by any carrier, messenger, agent, or


other person employed in any department of the Postal Service,

       In violation of 18U.S.C. § 1709.

                                            Count Three

                                                 Violation: 18 U.S.C. § 1701 (Obstruction
                                                  of mails generally)

       Beginning in or about December 2019, and continuing until on or about May 28,

2020, in Anderson County, in the Eastern District of Texas, the defendant, Jennifer

Rebekah Hawthorne, did knowingly and willfully obstruct and retard the passage of the

mail, in that she did unlawfully keep and maintain letters and other mail matter in her

private vehicle and her personal residence instead of delivering the same to the intended

recipients,

        In violation of 18 U.S.C. § 1701.

                                                  A TRUE BILL


Date                                              GRAND JURY FOREPERSON

STEPHEN J. COX
UNITED STATES ATTORNEY



ALAN R. JACKSON
Assistant United States Attorney


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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTE N DISTRICT OF TEXAS
                                      TYLER DIVISION

UNITED STATES OF AMERICA §
                                                  § NO. 6:20-CR- I
                                                  §
                                                  §
JENNIFER REBEKAH HAWTHORNE § UNDER SEAL

                                  NOTICE OF PENALTY

                                         Count One

        Violation:                   18 U.S.C. § 1703(a) (Delay or destruction of mail)

        Penalty:                    Imprisonment for a term of not more than five years; a
                                    fine not to exceed $250,000, or both; and a term of
                                    supervised release of not more than 3 years.

        Special Assessment:         $100.00

                                             Count Two

        Violation:                  18 U.S.C. § 1709 (The t of mail matter by employee)

        Penalty:                    Imprisonment for a term of not more than five years; a
                                    fine not to exceed $250,000, or both; and a term of
                                    supervised release of not more than 3 years.

        Special Assessment:         $100.00

                                        Count Three

        Violation:                  18 U.S.C. § 1701 (Obstruction of mails generally)

        Penalty:                    Imprisonment for a term of not more than six months;
                                    a fine not to exceed $5,000, or both; and a term of
                                    supervised release of not more than 1 year.

        Special Assessment:         $10.00



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